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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

     STANDING ORDER FOR CASES BEFORE JUDGE TREVOR N. MCFADDEN

        In order to administer this civil action in a manner fair to the litigants and consistent with
the parties’ interest in completing this litigation in the shortest possible time and at the least
possible cost, see FED. R. CIV. P. 1, it is hereby

        ORDERED that the parties are directed to comply with each of the directives set forth in
this Order. The Court will hold the parties responsible for following these directives; failure to
conform to this Order’s directives may, when appropriate, result in the imposition of
sanctions.

1.     Local Rules

       Parties are expected to comply with the Local Civil Rules of this Court (“LCvR”). The
       Rules are available online at http://www.dcd.uscourts.gov/court-info/local-rules-and-
       orders/local-rules.

2.     Service of Complaint; Proof of Service (LCvR 5.3)

       Plaintiff(s) must promptly serve the complaint on the Defendant(s) in accordance with
       Federal Rule of Civil Procedure 4 and file proof of service.

3.     Removed Actions

       Defendant(s) removing an action to this Court must re-file any answer as a supplement to
       the petition and re-notice any pending motion. Defendant(s) shall also promptly ensure
       that all parties receive a copy of this Standing Order.

4.     Disclosure of Corporate Affiliations and Financial Interests (LCvR 26.1)

       To facilitate the Court’s determination of the need for recusal, where a corporation is a
       party or intervenor, counsel of record for that party or intervenor shall file a certificate
       listing any parent, subsidiary, or affiliate of that party or intervenor which, to the
       knowledge of counsel, has any outstanding securities in the hands of the public. Such
       certificate shall be filed with the party’s first pleading. Counsel have a continuing
       obligation to advise the Court of any change.

5.     Electronic Filing (LCvR 5.4)

       (A)     All documents in this case are to be filed electronically, except with the
               exceptions noted below per LCvR 5.4, or with prior leave of the Court upon good
               cause shown. All electronically filed documents are to be in Portable Data
               Format (.pdf). In order to enable the Court’s efficient resolution of all matters in
               this case, all filings shall be submitted in text searchable PDF files, directly
               converted from the word-processing format into PDF so as to preserve their


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      searchability and readability. The Court recognizes an exception for exhibits that
      must be scanned because they exist only in paper format.

(B)   Exceptions to Electronic Filing (LCvR 5.4(e))

         (i) Every document filed under seal in a totally sealed case shall be filed in
             paper form accompanied by an electronic copy in a format deemed
             compatible by the Clerk’s Office with CM/ECF filing.

        (ii) Electronic filing procedures will be followed by parties represented by
             counsel only. In a case involving a pro se party, the party appearing pro
             se shall continue to file documents in paper form with the Clerk’s Office.
             Parties represented by counsel must serve documents upon pro se parties
             in paper form.

(C)   Absent specific statutory authority, a proposed sealed document in an otherwise
      unsealed case must be accompanied with a motion to seal in accordance with
      LCvR 5.1(h) and filed pursuant to the procedures established by the Clerk’s
      Office. Motions to seal should explain why sealing is appropriate with reference
      to the factors identified in United States v. Hubbard, 650 F.2d 293 (D.C. Cir.
      1980). Failure to file a proper motion to seal may result in the document being
      placed in the public record.

(D)   CM/ECF Passwords may only be used only by the person to whom they are
      assigned or, in the case of an attorney, by that attorney or an authorized employee
      or agent of that attorney’s law office or organization. The use of a CM/ECF
      password to login and submit documents creates an electronic record that operates
      and serves as the signature of the person to whom the password is assigned for all
      purposes under the Federal Rules of Civil Procedure and this Court’s Local Rules.

(E)   The electronic submission of any document in accordance with these procedures
      constitutes filing for all purposes under the Federal Rules of Civil Procedure and
      this Court’s Local Rules and simultaneously creates an official docket entry. A
      person filing by electronic means is responsible for ensuring the accuracy of the
      official docket entry generated by the CM/ECF software.

(F)   No certificate of service is required for documents filed electronically. Service is
      complete upon electronic submission of an order or document and will be effected
      by electronic notice. Counsel are responsible for monitoring their e-mail accounts
      and, upon receipt of notice of an electronic filing, for retrieving the order or
      document electronically.

(G)   Electronically filing a document that contains a declaration, verification,
      certificate, sworn statement, oath or affidavit certifies that the original signed
      document is in the possession of the attorney or pro se party responsible for the
      filing and that it is available for review upon request by a party or by the Court.




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     (H)      The Court may take into consideration technical difficulties experienced by a filer
              when presented a late filing. However, parties who wait until the last minute to
              begin filing are warned that technical difficulties do not necessarily constitute
              “good cause” or “excusable neglect” justifying an extension of the applicable
              deadline(s). See FED. R. CIV. P. 6(b). Further, no allowance can be made for
              late filing documents whose time limits are jurisdictional.

     (I)      Attorneys are to be precise in describing the type of document and requested
              relief when making electronic filings with the Court, because that description
              becomes the official docket entry recorded in the case. Failure to be accurate and
              thorough in the description of documents electronically filed may result in action
              adverse to the attorney.

6.   Amended Pleadings

     Any amended pleadings shall be accompanied by a redline comparison of the original
     and amended pleading.

7.   Communications with the Court

     The parties should endeavor to keep communications with Chambers to a minimum. Ex
     parte communications on matters other than scheduling are strictly prohibited; if the
     parties need to contact Chambers, it must be done jointly pursuant to a conference call
     arranged by the parties.

8.   Appearances at Hearings

     Principal trial counsel must appear at all hearings unless excused by the Court in
     advance.

9.   Motions for Extensions of Time and Re-scheduling of Hearings

     Motions for extensions of time and to re-schedule hearings are strongly discouraged; they
     will be granted only in truly exceptional or compelling circumstances and parties should
     not expect the Court to grant extensions. The Court will not entertain or honor
     stipulations for extensions of time or to re-schedule hearings; parties must file a written
     motion in accordance with the following instructions:

     (A)      Motions for extensions of time or to re-schedule a hearing must be filed at least
              four business days prior to the first affected deadline or scheduled hearing.

     (B)      All motions for extensions of time or to re-schedule a hearing must include the
              following or they will not be considered:

              (i)    The current deadline or date of the hearing;

              (ii)   The amount of time requested for the extension; or, for re-scheduling,
                     alternative dates that have been agreed to by all parties;


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             (iii)   The specific grounds for the extension or the re-scheduling of the hearing;

             (iv)    The number of previous extensions or continuances, if any, granted to
                     each party;

             (v)     A statement of the impact that the requested extension or re-scheduling
                     would have on all other previously set deadlines;

             (vi)    A proposed schedule for any other affected deadlines, to be proposed only
                     after consulting with opposing counsel; and

             (vii)   A statement of whether or not opposing counsel opposes the motion in
                     accordance with LCvR 7(m).

10.   Discovery Disputes

      The parties are expected to fully comply with LCvR 26.2. Moreover, counsel are
      required, under both Federal Rule of Civil Procedure 26(f) and LCvR 7(m), to confer in
      good faith in an effort to resolve any discovery dispute before bringing it to the Court’s
      attention. The parties shall not file a discovery motion without prior consultation
      with opposing counsel. If, in what should be the unusual case, the parties are unable to
      resolve their discovery dispute, counsel shall contact Chambers jointly in order to arrange
      for a telephone conference with the Court.

11.   Depositions

      Counsel must adhere to the following guidelines when taking a deposition:

      (A)    Counsel for the deponent shall refrain from gratuitous comments and from
             directing the deponent as to times, dates, documents, testimony, and the like;

      (B)    Counsel shall refrain from cuing the deponent by objecting in any manner other
             than stating an objection for the record followed by a word or two describing the
             legal basis for the objection;

      (C)    Counsel shall refrain from directing the deponent not to answer any question
             except for reasons which conform to Federal Rule of Civil Procedure 30(c)(2);

      (D)    Counsel shall refrain from engaging in dialogue on the record during the course of
             the deposition;

      (E)    If counsel for any party or person given notice of the deposition believes that
             these conditions are not being adhered to, that counsel may call for suspension of
             the deposition and then immediately apply to the Court for a ruling and remedy.
             When appropriate, the Court will impose sanctions;

      (F)    All counsel are to conduct themselves in a civil, polite, and professional manner.
             The Court will not countenance incivility or other behavior during the deposition


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             demonstrating that the examination is being conducted in bad faith or to simply
             annoy, embarrass, or oppress the deponent; and

      (G)    In accordance with Federal Rule of Civil Procedure 30(d)(1), no deposition may
             last more than seven hours (exclusive of breaks), except by leave of the Court or
             stipulation of the parties.

12.   Motions Generally (LCvR 7)

      Parties must comply with LCvR 7 and the following instructions:

      (A)    Memoranda of points and authorities filed in support of or in opposition to any
             motion may not, without leave of the Court, exceed forty-five pages, and reply
             memoranda may not exceed twenty-five pages, with all margins set at one inch
             and with all text double-spaced (excepting footnotes) and in twelve-point Times
             New Roman (including footnotes).

      (B)    Where a party fails to file a memorandum of points and authorities in
             opposition to a given motion, the Court may treat the motion as conceded.
             Similarly, where a party fails to respond to arguments in opposition papers, the
             Court may treat those specific arguments as conceded. See Phrasavang v.
             Deutsche Bank, 656 F. Supp. 2d 196, 201 (D.D.C. 2009).

      (C)    A party may not file a sur-reply without first requesting leave of the Court.

      (D)    Exhibits shall be properly edited to exclude irrelevant material and to direct the
             Court’s attention to the pertinent portions thereof.

      (E)    Each submission shall be accompanied by a table of cases and other authorities
             cited therein. Counsel shall place asterisks in the margin to the left of those cases
             or authorities on which counsel chiefly relies.

      (F)    Every pleading or paper, regardless of whether it is signed by an attorney or a pro
             se party, shall contain the name, address, telephone number, and, for an attorney,
             bar identification number. See also LCvR 5.1(c).

13.   Motions to Dismiss

      (A)    In General - The parties are reminded that a motion to dismiss under Rule
             12(b)(6) or a motion for judgment on the pleadings under Rule 12(c) presenting
             matters outside the pleadings may be converted to a motion for summary
             judgment. FED. R. CIV. P. 12(d). If a motion to dismiss presents matters outside
             the pleadings, all parties must comply fully with the instructions set forth below
             regarding motions for summary judgment.

      (B)    Cases Involving Judicial Review of Administrative Agency Action - If the
             Government is filing a motion to dismiss, and believes that the LCvR 7(n)
             requirement to “file a certified list of the contents of the administrative record . . .


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            simultaneously” would not be helpful to the resolution of the case, the
            Government must file—simultaneously with the motion to dismiss—a motion
            asking the Court to excuse the agency from the requirements of LCvR 7(n).

14.   Motions for Summary Judgment

      (A)   Cases Involving Judicial Review of Administrative Agency Action (LCvR
            7(n))

               (i) Each motion for summary judgment, and opposition thereto, shall include
                   a statement of facts with references to the administrative record. The
                   parties must furnish precise citations to the portions of the administrative
                   record on which they rely; the Court need not consider materials not
                   specifically identified. See also FED. R. CIV. P. 56(c)(1).

              (ii) The parties shall provide the Court with a joint appendix containing copies
                   of those portions of the administrative record that are cited or otherwise
                   relied upon in any memorandum in support of, or in opposition to, a
                   motion for summary judgment.

      (B)   All Other Cases (LCvR 7(h))

               (i) Each party submitting a motion for summary judgment attach a statement
                   of material facts for which that party contends there is no genuine dispute,
                   with specific citations to those portions of the record upon which the party
                   relies in fashioning the statement. The party opposing the motion must, in
                   turn, submit a statement enumerating all material facts which the party
                   contends are genuinely disputed and thus require trial. The parties are
                   strongly encouraged to carefully review Jackson v. Finnegan, Henderson,
                   Farabow, Garrett & Dunner, 101 F.3d 145 (D.C. Cir. 1996).

              (ii) The parties must furnish precise citations to the portions of the record on
                   which they rely; the Court need not consider materials not specifically
                   identified. See also FED. R. CIV. P. 56(c)(1).

             (iii) The moving party’s statement of material facts shall be a short and concise
                   statement, in numbered paragraphs, of all material facts as to which the
                   moving party claims there is no genuine dispute. The statement must
                   contain only one factual assertion in each numbered paragraph.

             (iv) The party responding to a statement of material facts must respond to each
                  paragraph with a correspondingly numbered paragraph, indicating
                  whether that paragraph is admitted or denied. If a paragraph is admitted
                  only in part, the party must specifically identify which parts are admitted
                  and which parts are denied.




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                (v) The Court may assume that facts identified by the moving party in its
                    statement of material facts are admitted, unless such facts are
                    controverted in the statement filed in opposition to the motion..

               (vi) The responding party must include any information relevant to its
                    response in its correspondingly numbered paragraph, with specific
                    citations to the record. However, if the responding party has additional
                    facts that are not directly relevant to its response, it must identify such
                    facts in consecutively numbered paragraphs at the end of its responsive
                    statement of facts. If additional factual allegations are made, the
                    opponent must file a responsive statement of its own.

15.   Motions for Reconsideration

      Motions for reconsideration of prior rulings are strongly discouraged. Such motions shall
      be filed only when the requirements of Federal Rules of Civil Procedure 54(b), 59(e),
      and/or 60(b) are met. If such a motion is filed, it shall not exceed ten pages in length.
      Moreover, the Court will not entertain: (a) motions which simply reassert arguments
      previously raised and rejected by the Court; or (b) arguments which should have been
      previously raised, but are being raised for the first time. Motions not in compliance with
      these instructions may be stricken.

16.   Courtesy Copies

      The parties shall provide two courtesy copies, with ECF headers, of any submission that:
      (i) along with exhibits, is over one hundred pages in length; or (ii) includes any exhibits
      in color (to be provided in color). Courtesy copies shall be in binders, three-hole
      punched, with double-sided pages. Exhibits shall be tabbed and indexed for ease of
      reference. Courtesy copies can be mailed to Chambers; or, if delivery is made by courier,
      to the Court Security Officer at the loading dock located at Third and C Streets (not the
      Clerk’s Office or Chambers). Pro se parties are excused from complying with this
      requirement.

17.   Settlement

      The parties are expected to evaluate their respective cases for purposes of settlement.
      The Court encourages the use of alternative dispute resolution—e.g., mediation or neutral
      case evaluation. The use of these methods is available at any time, as is a settlement
      conference before a magistrate judge. If counsel are interested in pursuing these options,
      they may contact Chambers at any time. If the case settles in whole or in part, counsel
      shall promptly advise the Court.

      SO ORDERED.


                                                                  /s/
                                                   TREVOR N. MCFADDEN
                                                   United States District Judge


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